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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                             CASE NO:
  SEABOARD MARINE LTD, INC.,

         Plaintiff,
  vs.

  MAGNUM FREIGHT CORP.,
  METAL CONVERSIONS LTD. d/b/a METAL SOURCE LLC.,
  CVG ALUMINIOS NACIONALES S.A., and
  TERMINALES Y ENTREGAS INTERNACIONALES S.A.

        Defendants.
  ___________________________/

                                         COMPLAINT

         COMES NOW, the Plaintiff, SEABOARD MARINE LTD. (“SEABOARD”) by and

  through their undersigned counsels and files this their Complaint against Defendants, MAGNUM

  FREIGHT CORP. (“MAGNUM”), METAL CONVERSIONS LTD. d/b/a METAL SOURCE

  LLC. (“METAL CONVERSIONS”), CVG ALUMINIOS NACIONALES S.A. (“CVG

  ALUMINIOS”),        and   TERMINALES       Y    ENTREGAS        INTERNACIONALES          S.A.

  (“TERMINALES”) and further alleges as follows:

                                         THE PARTIES

         1. Plaintiff SEABOARD is a foreign corporation engaged in the business of transporting

             goods nationwide and internationally by land and water. SEABOARD’s principle

             place of business is located at 8001 NW 79th Avenue, Miami, Florida 33166.

         2. Defendant MAGNUM is a Florida Corporation, engaged in the logistics and

             transportation of goods nationwide, including within Florida. MAGNUM’s principle

             place of business is located at 2600 NW 75 Avenue, Suite 100, Miami, Florida 33122.
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        3. Upon information and belief, Defendant METAL CONVERSIONS is a foreign

           corporation engaged in the business of purchasing, shipping, and scrapping metal

           nationwide. METAL CONVERSIONS is located at 1733 S. Wabash Street, Wabash,

           Indiana 46992.

        4. Upon information and belief, Defendant CVG ALUMINIOS is a Costa Rican

           corporation engaged in the business of manufacturing, marketing, and the distribution

           of aluminum based products internationally, including between Costa Rica and the

           United States. CVG ALUMINIOS is located at Ruta 657 Juanilama Esparaza, Punta

           Arena, Costa Rica.

        5. Upon information and belief, Defendant TERMINALES is a Costa Rican corporation

           engaged in the business of facilitating the shipment of goods internationally,

           including between Costa Rica and the United States. TERMINALES is located at 50

           Oeste y 50 Sur de Los Tribunales de Justicia de Goicoechea, San Jose, Costa Rica.

        6. Pursuant to the terms and conditions of the SEABOARD bill of lading, which

           governs the relationship between the Parties and forms the basis of this lawsuit it

           defined a “Merchant” as:

              the shipper, consignee, receiver, holder of this Bill of Lading, owner of the
              cargo or person entitled to the possession of the cargo and the servants and
              agents of any of these, all of whom shall be jointly and severally liable to the
              Carrier for the payment of all Charges, and for the performance of the
              obligations of any of them under this Bill of Lading.

        7. Accordingly, pursuant to the subject SEABOARD bill of lading all the following

           Defendants are considered Merchants for the subject shipment and thus bound to the

           terms and conditions of the bill of lading: TERMINALES and CVG ALUMINIOS, as




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           the identified shippers, and MAGNUM and METAL CONVERSIONS, who are listed

           as the consignees.

                                     JURISDICTION AND VENUE

        8. SEABOARD incorporates and re-alleges each of the preceding paragraphs as if set

           forth herein at length.

           A. MAGNUM

        9. This is an admiralty and maritime claim for indemnity brought pursuant to 28 U.S.C.

           § 1333 and Fed.R.Civ.P. 9(h) and this Court has subject matter jurisdiction over the

           claims as this dispute concerns breach of a maritime agreement, in the form of a bill

           of lading, which governs the relationship between the Parties and forms the basis of

           this lawsuit. This cause of action is maritime in nature as it pertained to the shipments

           of goods via vessel from a foreign port into the United States and the performance of

           those services had a direct, substantial, and necessary link to the operation,

           navigation, or management of vessels which were related to the shipping industry and

           commerce of the sea.

        10. At all times material, personal jurisdiction over MAGNUM for the following reasons:

               a. Clause 22 of the SEABOARD bill of lading, which forms the basis of this

                  claim between the Parties and freely entered into and binding on MAGNUM

                  as a Merchant, mandates that any and all disputes arising from the subject bill

                  of lading shall only be brought and determined in the “United States District

                  Court for the Southern District of Florida, in Miami, Florida to the exclusion

                  of the jurisdiction of any other courts in the United States or the courts of any

                  other country”; and as such the Parties irrevocably submits to the jurisdiction




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                  of the federal court sitting in Miami. This forum selection clause is the type

                  that is regularly interpreted and enforced by Federal Courts applying

                  admiralty and maritime law;

               b. At all times material hereto, MAGNUM was and still is a Florida for profit

                  corporation that conducts significant business in Florida engaging in the

                  logistics and transportation of goods nationwide, including within Florida; and

                  is thus subject to the personal jurisdiction of this Court.

        11. Venue is proper in this district under 28 U.S.C. §1391(c) since MAGNUM is subject

           to personal jurisdiction in this district for the following reasons:

               a. The SEABOARD bill of lading, which is the contract of carriage the governs

                  the relationship between the Parties was fully or in part negotiated,

                  consummated, and/or executed by representatives of MAGNUM and

                  SEABOARD in Miami-Dade County;

               b. MAGNUM breached the terms and conditions of the SEABOARD bill of

                  lading by failing to perform services, including the payments of monies within

                  Miami-Dade County; and

               c. MAGNUM engaged in regular, systematic and continuous activity with

                  SEABOARD whose principle place of business is located in Miami-Dade

                  County.

        12. All conditions precedent to bringing this action have been performed, satisfied or

           waived prior to filing this action. SEABOARD has retained the law firm of Blanck,

           Cooper & Hernandez, PA. to represent its interest in these proceedings and has

           obligated itself to pay the firm a reasonable attorneys’ fee and court costs, which fees




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           and costs are recoverable from MAGNUM pursuant to paragraph 15 of the

           SEABOARD bill of lading and applicable law.

           B. CVG ALUMINIOS

        13. This is an admiralty and maritime claim for indemnity brought pursuant to 28 U.S.C.

           § 1333 and Fed.R.Civ.P. 9(h) and this Court has subject matter jurisdiction over the

           claims as this dispute concerns breach of a maritime agreement, in the form of a bill

           of lading, which governs the relationship between the Parties and forms the basis of

           this lawsuit. This cause of action is maritime in nature as it pertained to the shipments

           of goods via vessel from a foreign port into the United States and the performance of

           those services had a direct, substantial, and necessary link to the operation,

           navigation, or management of vessels which were related to the shipping industry and

           commerce of the sea.

        14. At all times material, personal jurisdiction over CVG ALUMINIOS for the following

           reasons:

               a. Clause 22 of the SEABOARD bill of lading, which forms the basis of this

                  claim between the Parties and freely entered into and binding on CVG

                  ALUMINIOS as a Merchant, mandates that any and all disputes arising from

                  the subject bill of lading shall only be brought and determined in the “United

                  States District Court for the Southern District of Florida, in Miami, Florida to

                  the exclusion of the jurisdiction of any other courts in the United States or the

                  courts of any other country”; and as such the Parties irrevocably submits to

                  the jurisdiction of the federal court sitting in Miami. This forum selection




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                  clause is the type that is regularly interpreted and enforced by Federal Courts

                  applying admiralty and maritime law;

               b. Upon information and belief, agents and/or representatives of CVG

                  ALUMINIOS as part of its business of manufacturing, marketing, and the

                  distribution of aluminum had regular, systematic, and continuous contact

                  within Florida and therefore, personal jurisdiction is properly exercised

                  pursuant to Fla. Stat. §48.193(2) as agents and/or representatives for CVG

                  ALUMINIOS were engaging in substantial and not isolated activities within

                  the State of Florida.

               c. CVG ALUMINIOS breached the terms and conditions of the SEABOARD

                  bill of lading by failing to perform services, including the payments of monies

                  within Florida and therefore is subject to jurisdiction in Florida under Fla.

                  Stat. §48.193(1)(a)(7).

        15. Venue is proper in this district under 28 U.S.C. §1391(c) since CVG ALUMINIOS is

           subject to personal jurisdiction in this district for the following reasons:

               a. The SEABOARD bill of lading, which is the contract of carriage the governs

                  the relationship between the Parties was fully or in part negotiated,

                  consummated, and/or executed by representatives of CVG ALUMINIOS and

                  SEABOARD in Miami-Dade County;

               b. CVG ALUMINIOS breached the terms and conditions of the SEABOARD

                  bill of lading by failing to perform services, including the payments of monies

                  within Miami-Dade County; and




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               c. CVG ALUMINIOS engaged in regular, systematic and continuous activity

                   with SEABOARD whose principle place of business is located in Miami-

                   Dade County.

        16. Further, or in the alternative, venue is proper under 28 U.S.C. §1391(d), since an alien

           corporation, such as CVG ALUMINIOS, may be sued in any district.

        17. Service is proper on the Florida Secretary of State under Fla. Stat. §48.181 for the

           following reasons:

               a. CVG ALUMINIOS is a non-resident corporation engaging and conducting

                   substantial and not isolated business activity (as specifically alleged in

                   paragraph 14(b)) within the State of Florida.

               b. SEABOARD has diligently searched and has been unable to locate a

                   registered agent nor any other designated agent and/or officers in the State of

                   Florida to accept service of process for CVG ALUMINIOS.

        18. All conditions precedent to bringing this action have been performed, satisfied or

           waived prior to filing this action. SEABOARD has retained the law firm of Blanck,

           Cooper & Hernandez, PA. to represent its interest in these proceedings and has

           obligated itself to pay the firm a reasonable attorneys’ fee and court costs, which fees

           and costs are recoverable from CVG ALUMINIOS pursuant to paragraph 15 of the

           SEABOARD bill of lading and applicable law.

           C. TERMINALES

        19. This is an admiralty and maritime claim for indemnity brought pursuant to 28 U.S.C.

           § 1333 and Fed.R.Civ.P. 9(h) and this Court has subject matter jurisdiction over the

           claims as this dispute concerns breach of a maritime agreement, in the form of a bill




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           of lading, which governs the relationship between the Parties and forms the basis of

           this lawsuit. This cause of action is maritime in nature as it pertained to the shipments

           of goods via vessel from a foreign port into the United States and the performance of

           those services had a direct, substantial, and necessary link to the operation,

           navigation, or management of vessels which were related to the shipping industry and

           commerce of the sea.

        20. At all times material, personal jurisdiction over TERMINALES for the following

           reasons:

              a. Clause 22 of the SEABOARD bill of lading, which forms the basis of this

                  claim between the Parties and freely entered into and binding on

                  TERMINALES as a Merchant, mandates that any and all disputes arising

                  from the subject bill of lading shall only be brought and determined in the

                  “United States District Court for the Southern District of Florida, in Miami,

                  Florida to the exclusion of the jurisdiction of any other courts in the United

                  States or the courts of any other country”; and as such the Parties irrevocably

                  submits to the jurisdiction of the federal court sitting in Miami. This forum

                  selection clause is the type that is regularly interpreted and enforced by

                  Federal Courts applying admiralty and maritime law;

              b. Upon information and belief, agents and/or representatives of TERMINALES

                  engaged in the business of facilitating the shipment of goods internationally

                  and as part of that business had regular, systematic, and continuous contact

                  within Florida and therefore, personal jurisdiction is properly exercised

                  pursuant to Fla. Stat. §48.193(2) as agents and/or representatives for




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                   TERMINALES were engaging in substantial and not isolated activities within

                   the State of Florida.

               c. TERMINALES breached the terms and conditions of the SEABOARD bill of

                   lading by failing to perform services, including the payments of monies within

                   Florida and therefore is subject to jurisdiction in Florida under Fla. Stat.

                   §48.193(1)(a)(7).

        21. Venue is proper in this district under 28 U.S.C. §1391(c) since TERMINALES is

           subject to personal jurisdiction in this district for the following reasons:

               a. The SEABOARD bill of lading, which is the contract of carriage the governs

                   the relationship between the Parties was fully or in part negotiated,

                   consummated, and/or executed by representatives of TERMINALES and

                   SEABOARD in Miami-Dade County;

               b. TERMINALES breached the terms and conditions of the SEABOARD bill of

                   lading by failing to perform services, including the payments of monies within

                   Miami-Dade County; and

               c. TERMINALES engaged in regular, systematic and continuous activity with

                   SEABOARD whose principle place of business is located in Miami-Dade

                   County.

        22. Further, or in the alternative, venue is proper under 28 U.S.C. §1391(d), since an alien

           corporation, such as TERMINALES, may be sued in any district.

        23. Service is proper on the Florida Secretary of State under Fla. Stat. §48.181 for the

           following reasons:




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               a. TERMINALES is a non-resident corporation engaging and conducting

                  substantial and not isolated business activity (as specifically alleged in

                  paragraph 20(b)) within the State of Florida.

               b. SEABOARD has diligently searched and has been unable to locate a

                  registered agent nor any other designated agent and/or officers in the State of

                  Florida to accept service of process for TERMINALES.

        24. All conditions precedent to bringing this action have been performed, satisfied or

           waived prior to filing this action. SEABOARD has retained the law firm of Blanck,

           Cooper & Hernandez, PA. to represent its interest in these proceedings and has

           obligated itself to pay the firm a reasonable attorneys’ fee and court costs, which fees

           and costs are recoverable from TERMINALES pursuant to paragraph 15 of the

           SEABOARD bill of lading and applicable law.

           D. METAL CONVERSIONS

        25. This is an admiralty and maritime claim for indemnity brought pursuant to 28 U.S.C.

           § 1333 and Fed.R.Civ.P. 9(h) and this Court has subject matter jurisdiction over the

           claims as this dispute concerns breach of a maritime agreement, in the form of a bill

           of lading, which governs the relationship between the Parties and forms the basis of

           this lawsuit. This cause of action is maritime in nature as it pertained to the shipments

           of goods via vessel from a foreign port into the United States and the performance of

           those services had a direct, substantial, and necessary link to the operation,

           navigation, or management of vessels which were related to the shipping industry and

           commerce of the sea.




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        26. At all times material, personal jurisdiction over METAL CONVERSIONS for the

           following reasons:

              a. Clause 22 of the SEABOARD bill of lading, which forms the basis of this

                  claim between the Parties and freely entered into and binding on METAL

                  CONVERSIONS as a Merchant, mandates that any and all disputes arising

                  from the subject bill of lading shall only be brought and determined in the

                  “United States District Court for the Southern District of Florida, in Miami,

                  Florida to the exclusion of the jurisdiction of any other courts in the United

                  States or the courts of any other country”; and as such the Parties irrevocably

                  submits to the jurisdiction of the federal court sitting in Miami. This forum

                  selection clause is the type that is regularly interpreted and enforced by

                  Federal Courts applying admiralty and maritime law;

              b. Upon information and belief, agents and/or representatives of METAL

                  CONVERSIONS as part of its business of purchasing, shipping, and

                  scrapping of metal nationwide had regular, systematic, and continuous contact

                  within Florida and therefore, personal jurisdiction is properly exercised

                  pursuant to Fla. Stat. §48.193(2) as agents and/or representatives for METAL

                  CONVERSIONS were engaging in substantial and not isolated activities

                  within the State of Florida.

              c. METAL CONVERSIONS breached the terms and conditions of the

                  SEABOARD bill of lading by failing to perform services, including the

                  payments of monies within Florida and therefore is subject to jurisdiction in

                  Florida under Fla. Stat. §48.193(1)(a)(7).




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        27. Venue is proper in this district under 28 U.S.C. §1391(c) since METAL

           CONVERSIONS is subject to personal jurisdiction in this district for the following

           reasons:

               a. The SEABOARD bill of lading, which is the contract of carriage the governs

                   the relationship between the Parties was fully or in part negotiated,

                   consummated,      and/or    executed     by    representatives    of    METAL

                   CONVERSIONS and SEABOARD in Miami-Dade County;

               b. METAL CONVERSIONS breached the terms and conditions of the

                   SEABOARD bill of lading by failing to perform services, including the

                   payments of monies within Miami-Dade County; and

               c. METAL CONVERSIONS engaged in regular, systematic and continuous

                   activity with SEABOARD whose principle place of business is located in

                   Miami-Dade County.

        28. Further, or in the alternative, venue is proper under 28 U.S.C. §1391(d), since an alien

           corporation, such as METAL CONVERSIONS, may be sued in any district.

        29. Service is proper on the Florida Secretary of State under Fla. Stat. §48.181 for the

           following reasons:

               a. METAL CONVERSION is a non-resident corporation engaging and

                   conducting substantial and not isolated business activity (as specifically

                   alleged in paragraph 26(b)) within the State of Florida.

               b. SEABOARD has diligently searched and has been unable to locate a

                   registered agent nor any other designated agent and/or officers in the State of

                   Florida to accept service of process for METAL CONVERSION.




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        30. All conditions precedent to bringing this action have been performed, satisfied or

           waived prior to filing this action. SEABOARD has retained the law firm of Blanck,

           Cooper & Hernandez, PA. to represent its interest in these proceedings and has

           obligated itself to pay the firm a reasonable attorneys’ fee and court costs, which fees

           and costs are recoverable from METAL CONVERSIONS pursuant to paragraph 15

           of the SEABOARD bill of lading and applicable law.

                                     FACTUAL ALLEGATIONS

        31. SEABOARD incorporates and re-alleges each of the preceding paragraphs.

        32. On or about May 2016, SEABOARD was contracted to transport via ocean carrier a

           container of aluminum dross from Puerto Limon, Costa Rica to Brooklyn, New York

           onboard the vessel M/V MARAVIA.

        33. The aforementioned shipment was governed under the following bill of ladings:

           4471272A/4471272A002 (attached hereto), which formed the contract of carriage

           between SEABOARD and the Defendants.

        34. Pursuant to the terms and conditions of the SEABOARD bill of lading it defined a

           “Merchant” as:

               the shipper, consignee, receiver, holder of this Bill of Lading, owner of the
               cargo or person entitled to the possession of the cargo and the servants and
               agents of any of these, all of whom shall be jointly and severally liable to the
               Carrier for the payment of all Charges, and for the performance of the
               obligations of any of them under this Bill of Lading.

        35. Accordingly, pursuant to bill of ladings: 4471272A/4471272A002, all the following

           Defendants are considered Merchants for the subject shipment: TERMINALES and

           CVG ALUMINIOS, as the identified shippers, and MAGNUM and METAL

           CONVERSIONS, who are listed as the consignees.




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        36. Upon the arrival of the M/V MARAVIA at the Red Hook Container Terminal

           (“RHCT”) in Brooklyn, New York the subject cargo was discharged. Once the cargo

           was discharged it was inspected by various U.S. government agencies. During this

           inspection, it was uncovered that the subject cargo had been improperly declared,

           packaged, and stored in violation of numerous U.S. regulations by either the

           Merchants, their representatives and/or agents.

        37. As a result of these violations the subject cargo was detained by the U.S. government

           and placed on hold for a significant period of time, which consisted of many months.

        38. The subject cargo remained on hold for a significant period of time until the

           Defendants were able to modify the container to correct the deficiencies and move it

           off the RHCT.

        39. During the time the subject cargo was on hold and being detained SEABOARD

           incurred numerous charges in the form of: detention charges; surveyor and inspector

           expenses, container replacement, and legal fees that amounted to at least $55,525.25.

        40. Additionally, while the subject cargo was on hold and being detained RHCT incurred

           numerous charges in the form of: demurrage charges, storing related expenses, and

           legal fees that amounted to at least $88,145.00.

        41. Accordingly, SEABOARD has received a demand from RHCT for the

           aforementioned losses and expenses of $88,145.00 allegedly incurred by RHCT in

           connection with the subject shipment.

        42. Pursuant to Clause 1(g) within the SEABOARD bill of lading, which the Defendants,

           as the identified Merchants, are bound to are responsible and liable for monies due to

           and incurred by SEABOARD as result of the subject shipment:




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              [Merchants] shall be jointly and severally liable to the Carrier [SEABOARD]
              for the payment of all Charges, and for the performance of the obligations of
              any of them under this Bill of Lading.

        43. To date, the Defendants are in breach of Clause 1(g) as they have failed to make

           payment to SEABOARD for the costs and expenses incurred by SEABOARD

           although the Defendants, as the Merchants, are liable to SEABOARD for the payment

           of all charges pursuant to the SEABOARD bill of lading.

        44. Furthermore, Clause 7(a) of the SEABOARD bill of lading mandates that the

           Defendants, as the Merchants, are responsible for making certain that the description,

           particulars, and representation of the cargo are correct, as evident by the following:

              The description and particulars of the Goods set out on the face hereof and any
              description, particular or other representation appearing on the Goods or
              documents relating thereto are furnished by the Merchant, and the Merchant
              warrants to the Carrier that the description, particulars and any representation
              made, including, but not limited to, weight, content, measure, quantity, quality,
              condition, marks, numbers and value are correct.

        45. SEABOARD’s loss was caused in part because of Defendants breach of Clause 7(a)

           as they have failed in their description and representation of the cargo that caused it to

           be detained at a substantial cost to SEABOARD.

        46. Additionally, Clause 7(b) of the SEABOARD bill of lading requires that the

           Defendants, as the Merchants, warrant that they have complied with all applicable

           laws, regulations, and requirements as mandated by the authorities and shall bear and

           pay all expenses for improper or insufficient identifications of the cargo as stated in

           the following:

              The Merchant warrants it has complied with all applicable laws, regulations and
              requirements of Customs, port and other authorities and shall bear and pay all
              duties, taxes, fines, imposts, expenses and losses incurred or suffered by reason
              thereof or by reason of any illegal, incorrect or insufficient marking, numbering,
              addressing or any other particulars relative to the Goods.



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        47. SEABOARD’s loss was caused in part because of Defendants breach of Clause 7(b)

           as they have failed to have complied with all applicable laws, regulations, and

           requirements for the subject shipment which resulted in the cargo being detained at a

           cost to SEABOARD.

        48. Moreover, Clause 7(c) of the SEABOARD bill of lading mandates that the

           Defendants, as the Merchants, warrant that the cargo is packed adequately in

           compliance with all applicable laws based on the following:

               The Merchant further warrants that the Goods are packed in a manner adequate to
               withstand the ordinary risks of Carriage having regard to their nature and in
               compliance with all laws, regulations and requirements which may be applicable.

        49. SEABOARD’s loss was caused in part because of Defendants breach of Clause 7(c)

           as they did not adequately pack the subject cargo in compliance with applicable law

           which resulted in the cargo being detained at a cost to SEABOARD.

        50. In addition, Clause 7(e) of the SEABOARD bill of lading require that the Defendants,

           as the Merchants, are liable to SEABOARD for all losses, including detention and

           demurrage caused by the Merchant as stated by the following:

               The Merchant shall be liable for all loss or damage of any kind whatsoever,
               including but not limited to, contamination, soiling, detention and demurrage
               before, during and after the Carriage of property (including but not limited to
               Containers) of the Carrier or any person (other than the Merchant) or vessel
               caused by the Merchant or any person acting on its behalf or for which the
               Merchant is otherwise responsible.

        51. To date, the Defendants are in breach of Clause 7(e) as they have failed to make

           payment to SEABOARD for any losses incurred by them, including detention and

           demurrage for the subject shipment.




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        52. Pursuant to Clause 7(f) of the SEABOARD bill of lading the Defendants, as the

           Merchants, are required to defend, indemnify, and hold harmless SEABOARD

           against any loss arising from any breach of Clause 7 by the Merchants:

               The Merchant shall defend, indemnify, and hold harmless the Carrier
               against any loss, damage, claim, liability or expense whatsoever arising from
               any breach of the provisions of this Clause 7 or from any cause in connection
               with the Goods for which the Carrier is not responsible.

        53. To date, the Defendants are in breach of Clause 7(f) as they have failed to, despite

           repeated demands, to defend, indemnify, and hold harmless SEABOARD against any

           loss, including the claims against SEABOARD from RHCT arising from the breach

           of Clause 7 by the Merchants for the subject shipment.

                 COUNT I- CLAIM FOR CONTRACTUAL INDEMNITY AGAINST
                                      MAGNUM

        54. SEABOARD incorporates and re-alleges each of the preceding paragraphs as if set

           forth herein at length.

        55. The SEABOARD bill of lading for the subject shipment was a valid and enforceable

           contract.

        56. The consideration set forth in the SEABOARD bill of lading, which was that

           SEABOARD would ship the subject cargo for an agreed upon price was fair and

           reasonable.

        57. MAGNUM as a listed consignee on the SEABOARD bill of lading is considered a

           Merchant pursuant to the terms and conditions of the SEABOARD bill of lading.

        58. SEABOARD has substantially satisfied all conditions and promises required on its

           part to be performed in accordance with the terms and conditions of the SEABOARD

           bill of lading.




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        59. That Clause 7(f) of the SEABOARD bill of lading states in part:

               The Merchant shall defend, indemnify, and hold harmless the Carrier
               against any loss, damage, claim, liability or expense whatsoever arising from
               any breach of the provisions of this Clause 7 or from any cause in connection
               with the Goods for which the Carrier is not responsible.

        60. That despite the terms and conditions of the SEABOARD bill of lading, MAGNUM,

           as a Merchant, has failed and refused to defend, indemnify and hold harmless

           SEABOARD for their direct loss in the amount of at $55,525.25 and the claim against

           SEABOARD from RHCT in the amount of $88,145.00.

        61. MAGNUM has materially breached its obligations to SEABOARD by its failure to

           rightfully defend, indemnify and hold harmless SEABOARD for any of the claims

           and losses sustained by them for the subject shipment.

        62. As a direct result of MAGNUM’s breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by MAGNUM.

        63. SEABOARD has retained the law office of Blanck, Cooper & Hernandez, P.A. and

           agreed to pay them a reasonable fee. Pursuant to Clause 15 of the SEABOARD bill

           of lading SEABOARD is entitled to collect its costs of collection, including

           reasonable attorneys’ fees.

              COUNT II- CLAIM FOR CONTRACTUAL INDEMNITY AGAINST CVG
                                     ALUMINIOS

        64. SEABOARD incorporates and re-alleges each of the preceding paragraphs as if set

           forth herein at length.




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        65. The SEABOARD bill of lading for the subject shipment was a valid and enforceable

           contract.

        66. The consideration set forth in the SEABOARD bill of lading, which was that

           SEABOARD would ship the subject cargo for an agreed upon price was fair and

           reasonable.

        67. CVG ALUMINIOS as a listed shipper on the SEABOARD bill of lading is

           considered a Merchant pursuant to the terms and conditions of the SEABOARD bill

           of lading.

        68. SEABOARD has substantially satisfied all conditions and promises required on its

           part to be performed in accordance with the terms and conditions of the SEABOARD

           bill of lading.

        69. That Clause 7(f) of the SEABOARD bill of lading states in part:

               The Merchant shall defend, indemnify, and hold harmless the Carrier
               against any loss, damage, claim, liability or expense whatsoever arising from
               any breach of the provisions of this Clause 7 or from any cause in connection
               with the Goods for which the Carrier is not responsible.

        70. That despite the terms and conditions of the SEABOARD bill of lading, CVG

           ALUMINIOS, as a Merchant, has failed and refused to defend, indemnify and hold

           harmless SEABOARD for their direct loss in the amount of at $55,525.25 and the

           claim against SEABOARD from RHCT in the amount of $88,145.00.

        71. CVG ALUMINIOS has materially breached its obligations to SEABOARD by its

           failure to rightfully defend, indemnify and hold harmless SEABOARD for any of the

           claims and losses sustained by them for the subject shipment.

        72. As a direct result of CVG ALUMINIOS’ breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,



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           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by CVG ALUMINIOS.

        73. SEABOARD has retained the law office of Blanck, Cooper & Hernandez, P.A. and

           agreed to pay them a reasonable fee. Pursuant to Clause 15 of the SEABOARD bill

           of lading SEABOARD is entitled to collect its costs of collection, including

           reasonable attorneys’ fees.

                COUNT III- CLAIM FOR CONTRACTUAL INDEMNITY AGAINST
                                     TERMINALES

        74. SEABOARD incorporates and re-alleges each of the preceding paragraphs as if set

           forth herein at length.

        75. The SEABOARD bill of lading for the subject shipment was a valid and enforceable

           contract.

        76. The consideration set forth in the SEABOARD bill of lading, which was that

           SEABOARD would ship the subject cargo for an agreed upon price was fair and

           reasonable.

        77. TERMINALES as a listed shipper on the SEABOARD bill of lading is considered a

           Merchant pursuant to the terms and conditions of the SEABOARD bill of lading.

        78. SEABOARD has substantially satisfied all conditions and promises required on its

           part to be performed in accordance with the terms and conditions of the SEABOARD

           bill of lading.

        79. That Clause 7(f) of the SEABOARD bill of lading states in part:

               The Merchant shall defend, indemnify, and hold harmless the Carrier
               against any loss, damage, claim, liability or expense whatsoever arising from
               any breach of the provisions of this Clause 7 or from any cause in connection
               with the Goods for which the Carrier is not responsible.




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        80. That despite the terms and conditions of the SEABOARD bill of lading,

           TERMINALES, as a Merchant, has failed and refused to defend, indemnify and hold

           harmless SEABOARD for their direct loss in the amount of at $55,525.25 and the

           claim against SEABOARD from RHCT in the amount of $88,145.00.

        81. TERMINALES has materially breached its obligations to SEABOARD by its failure

           to rightfully defend, indemnify and hold harmless SEABOARD for any of the claims

           and losses sustained by them for the subject shipment.

        82. As a direct result of TERMINALES’ breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by TERMINALES.

        83. SEABOARD has retained the law office of Blanck, Cooper & Hernandez, P.A. and

           agreed to pay them a reasonable fee. Pursuant to Clause 15 of the SEABOARD bill

           of lading SEABOARD is entitled to collect its costs of collection, including

           reasonable attorneys’ fees.

           COUNT IV- CLAIM FOR CONTRACTUAL INDEMNITY AGAINST METAL
                                  CONVERSIONS

        84. SEABOARD incorporates and re-alleges each of the preceding paragraphs as if set

           forth herein at length.

        85. The SEABOARD bill of lading for the subject shipment was a valid and enforceable

           contract.

        86. The consideration set forth in the SEABOARD bill of lading, which was that

           SEABOARD would ship the subject cargo for an agreed upon price was fair and

           reasonable.



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        87. METAL CONVERSIONS as a listed consignee on the SEABOARD bill of lading is

           considered a Merchant pursuant to the terms and conditions of the SEABOARD bill

           of lading.

        88. SEABOARD has substantially satisfied all conditions and promises required on its

           part to be performed in accordance with the terms and conditions of the SEABOARD

           bill of lading.

        89. That Clause 7(f) of the SEABOARD bill of lading states in part:

               The Merchant shall defend, indemnify, and hold harmless the Carrier
               against any loss, damage, claim, liability or expense whatsoever arising from
               any breach of the provisions of this Clause 7 or from any cause in connection
               with the Goods for which the Carrier is not responsible.

        90. That despite the terms and conditions of the SEABOARD bill of lading, METAL

           CONVERSIONS, as a Merchant, has failed and refused to defend, indemnify and

           hold harmless SEABOARD for their direct loss in the amount of at $55,525.25 and

           the claim against SEABOARD from RHCT in the amount of $88,145.00.

        91. METAL CONVERSIONS has materially breached its obligations to SEABOARD by

           its failure to rightfully defend, indemnify and hold harmless SEABOARD for any of

           the claims and losses sustained by them for the subject shipment.

        92. As a direct result of METAL CONVERSIONS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus

           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by METAL CONVERSIONS.

        93. SEABOARD has retained the law office of Blanck, Cooper & Hernandez, P.A. and

           agreed to pay them a reasonable fee. Pursuant to Clause 15 of the SEABOARD bill




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           of lading SEABOARD is entitled to collect its costs of collection, including

           reasonable attorneys’ fees.

               COUNT V- CLAIM FOR BREACH OF CONTRACT AGAINST MAGNUM

        94. SEABOARD incorporates and re-alleges each of the preceding paragraphs as if set

           forth herein at length.

        95. The SEABOARD bill of lading for the subject shipment was a valid and enforceable

           contract.

        96. The consideration set forth in the SEABOARD bill of lading, which was that

           SEABOARD would ship the subject cargo for an agreed upon price was fair and

           reasonable.

        97. MAGNUM as a listed consignee on the SEABOARD bill of lading is considered a

           Merchant pursuant to the terms and conditions of the SEABOARD bill of lading.

        98. SEABOARD has substantially satisfied all conditions and promises required on its

           part to be performed in accordance with the terms and conditions of the SEABOARD

           bill of lading.

        99. That Clause 7(a) of the SEABOARD bill of lading states in part:

                The description and particulars of the Goods set out on the face hereof and any
                description, particular or other representation appearing on the Goods or
                documents relating thereto are furnished by the Merchant, and the Merchant
                warrants to the Carrier that the description, particulars and any representation
                made, including, but not limited to, weight, content, measure, quantity, quality,
                condition, marks, numbers and value are correct.

        100.    That despite the terms and conditions of the SEABOARD bill of lading,

           MAGNUM, as a Merchant, failed in their description and representation of the cargo

           that caused it to be detained resulting in direct costs to SEABOARD in the amount of




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           at least $55,525.25 and a claim against SEABOARD from RHCT in the amount of

           $88,145.00.

        101.   MAGNUM has materially breached its obligations to SEABOARD under Clause

           7(a) in its failure to properly describe and represent the cargo for the subject shipment

           that caused it to be detained at a cost to SEABOARD.

        102.   As a direct result of MAGNUM’s breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by MAGNUM.

        103.   That Clause 7(b) of the SEABOARD bill of lading states in part:

               The Merchant warrants it has complied with all applicable laws, regulations and
               requirements of Customs, port and other authorities and shall bear and pay all
               duties, taxes, fines, imposts, expenses and losses incurred or suffered by reason
               thereof or by reason of any illegal, incorrect or insufficient marking, numbering,
               addressing or any other particulars relative to the Goods.

        104.   That despite the terms and conditions of the SEABOARD bill of lading,

           MAGNUM, as a Merchant, failed to have complied with all applicable laws,

           regulations, and requirements as mandated by the authorities resulting in direct costs

           to SEABOARD in the amount of at least $55,525.25 and a claim against

           SEABOARD from RHCT in the amount of $88,145.00.

        105.   MAGNUM has materially breached its obligations to SEABOARD under Clause

           7(b) in its failure to comply with all applicable laws, regulations, and requirements as

           mandated by the authorities which resulted in the subject shipment being detained at a

           cost to SEABOARD.




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        106.   As a direct result of MAGNUM’s breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by MAGNUM.

        107.   That Clause 7(c) of the SEABOARD bill of lading states in part:

               The Merchant further warrants that the Goods are packed in a manner adequate to
               withstand the ordinary risks of Carriage having regard to their nature and in
               compliance with all laws, regulations and requirements which may be applicable.

        108.   That despite the terms and conditions of the SEABOARD bill of lading,

           MAGNUM, as a Merchant, did not adequately pack the subject cargo in compliance

           with applicable law resulting in direct costs to SEABOARD in the amount of at least

           $55,525.25 and a claim against SEABOARD from RHCT in the amount of

           $88,145.00.

        109.   MAGNUM has materially breached its obligations to SEABOARD under Clause

           7(c) in its failure to adequately pack the subject cargo in compliance with applicable

           law which resulted in the subject shipment being detained at a cost to SEABOARD.

        110.   As a direct result of MAGNUM’s breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by MAGNUM.

        111.   That Clause 7(e) of the SEABOARD bill of lading states in part:

               The Merchant shall be liable for all loss or damage of any kind whatsoever,
               including but not limited to, contamination, soiling, detention and demurrage
               before, during and after the Carriage of property (including but not limited to
               Containers) of the Carrier or any person (other than the Merchant) or vessel
               caused by the Merchant or any person acting on its behalf or for which the
               Merchant is otherwise responsible.



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        112.   That despite the terms and conditions of the SEABOARD bill of lading,

           MAGNUM, as a Merchant, failed to make payment to SEABOARD for any losses

           incurred by them, including detention and demurrage, which resulted in a direct cost

           to SEABOARD in the amount of at least $55,525.25 and a claim against

           SEABOARD from RHCT in the amount of $88,145.00.

        113.   MAGNUM has materially breached its obligations to SEABOARD under Clause

           7(e) in its failure to make payment to SEABOARD for any losses incurred by them,

           including detention and demurrage, resulting in a direct loss to SEABOARD.

        114.   As a direct result of MAGNUM’s breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by MAGNUM.

        115.   SEABOARD has retained the law office of Blanck, Cooper & Hernandez, P.A.

           and agreed to pay them a reasonable fee. Pursuant to Clause 15 of the SEABOARD

           bill of lading SEABOARD is entitled to collect its costs of collection, including

           reasonable attorneys’ fees.

                COUNT VI- CLAIM FOR BREACH OF CONTRACT AGAINST CVG
                                     ALUMINIOS

        116.   SEABOARD incorporates and re-alleges each of the preceding paragraphs as if

           set forth herein at length.

        117.   The SEABOARD bill of lading for the subject shipment was a valid and

           enforceable contract.




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        118.   The consideration set forth in the SEABOARD bill of lading, which was that

           SEABOARD would ship the subject cargo for an agreed upon price was fair and

           reasonable.

        119.   CVG ALUMINIOS as a listed shipper on the SEABOARD bill of lading is

           considered a Merchant pursuant to the terms and conditions of the SEABOARD bill

           of lading.

        120.   SEABOARD has substantially satisfied all conditions and promises required on

           its part to be performed in accordance with the terms and conditions of the

           SEABOARD bill of lading.

        121.   That Clause 7(a) of the SEABOARD bill of lading states in part:

               The description and particulars of the Goods set out on the face hereof and any
               description, particular or other representation appearing on the Goods or
               documents relating thereto are furnished by the Merchant, and the Merchant
               warrants to the Carrier that the description, particulars and any representation
               made, including, but not limited to, weight, content, measure, quantity, quality,
               condition, marks, numbers and value are correct.

        122.   That despite the terms and conditions of the SEABOARD bill of lading, CVG

           ALUMINIOS, as a Merchant, failed in their description and representation of the

           cargo that caused it to be detained resulting in direct costs to SEABOARD in the

           amount of at least $55,525.25 and a claim against SEABOARD from RHCT in the

           amount of $88,145.00.

        123.   CVG ALUMINIOS has materially breached its obligations to SEABOARD under

           Clause 7(a) in its failure to properly describe and represent the cargo for the subject

           shipment that caused it to be detained at a cost to SEABOARD.

        124.   As a direct result of CVG ALUMINIOS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus



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           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by CVG ALUMINIOS.

        125.   That Clause 7(b) of the SEABOARD bill of lading states in part:

               The Merchant warrants it has complied with all applicable laws, regulations and
               requirements of Customs, port and other authorities and shall bear and pay all
               duties, taxes, fines, imposts, expenses and losses incurred or suffered by reason
               thereof or by reason of any illegal, incorrect or insufficient marking, numbering,
               addressing or any other particulars relative to the Goods.

        126.   That despite the terms and conditions of the SEABOARD bill of lading, CVG

           ALUMINIOS, as a Merchant, failed to have complied with all applicable laws,

           regulations, and requirements as mandated by the authorities resulting in direct costs

           to SEABOARD in the amount of at least $55,525.25 and a claim against

           SEABOARD from RHCT in the amount of $88,145.00.

        127.   CVG ALUMINIOS has materially breached its obligations to SEABOARD under

           Clause 7(b) in its failure to comply with all applicable laws, regulations, and

           requirements as mandated by the authorities which resulted in the subject shipment

           being detained at a cost to SEABOARD.

        128.   As a direct result of CVG ALUMINIOS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus

           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by CVG ALUMINIOS.

        129.   That Clause 7(c) of the SEABOARD bill of lading states in part:

               The Merchant further warrants that the Goods are packed in a manner adequate to
               withstand the ordinary risks of Carriage having regard to their nature and in
               compliance with all laws, regulations and requirements which may be applicable.




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        130.   That despite the terms and conditions of the SEABOARD bill of lading, CVG

           ALUMINIOS, as a Merchant, did not adequately pack the subject cargo in

           compliance with applicable law resulting in direct costs to SEABOARD in the

           amount of at least $55,525.25 and a claim against SEABOARD from RHCT in the

           amount of $88,145.00.

        131.   CVG ALUMINIOS has materially breached its obligations to SEABOARD under

           Clause 7(c) in its failure to adequately pack the subject cargo in compliance with

           applicable law which resulted in the subject shipment being detained at a cost to

           SEABOARD.

        132.   As a direct result of CVG ALUMINIOS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus

           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by CVG ALUMINIOS.

        133.   That Clause 7(e) of the SEABOARD bill of lading states in part:

               The Merchant shall be liable for all loss or damage of any kind whatsoever,
               including but not limited to, contamination, soiling, detention and demurrage
               before, during and after the Carriage of property (including but not limited to
               Containers) of the Carrier or any person (other than the Merchant) or vessel
               caused by the Merchant or any person acting on its behalf or for which the
               Merchant is otherwise responsible.

        134.   That despite the terms and conditions of the SEABOARD bill of lading, CVG

           ALUMINIOS, as a Merchant, failed to make payment to SEABOARD for any losses

           incurred by them, including detention and demurrage, resulting in direct costs to

           SEABOARD in the amount of at least $55,525.25 and a claim against SEABOARD

           from RHCT in the amount of $88,145.00.




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        135.   CVG ALUMINIOS has materially breached its obligations to SEABOARD under

           Clause 7(e) in its failure to make payment to SEABOARD for any losses incurred by

           them, including detention and demurrage, resulting in a direct loss to SEABOARD.

        136.   As a direct result of CVG ALUMINIOS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus

           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by CVG ALUMINIOS.

        137.   SEABOARD has retained the law office of Blanck, Cooper & Hernandez, P.A.

           and agreed to pay them a reasonable fee. Pursuant to Clause 15 of the SEABOARD

           bill of lading SEABOARD is entitled to collect its costs of collection, including

           reasonable attorneys’ fees.

                  COUNT VII- CLAIM FOR BREACH OF CONTRACT AGAINST
                                     TERMINALES

        138.   SEABOARD incorporates and re-alleges each of the preceding paragraphs as if

           set forth herein at length.

        139.   The SEABOARD bill of lading for the subject shipment was a valid and

           enforceable contract.

        140.   The consideration set forth in the SEABOARD bill of lading, which was that

           SEABOARD would ship the subject cargo for an agreed upon price was fair and

           reasonable.

        141.   TERMINALES as a listed shipper on the SEABOARD bill of lading is considered

           a Merchant pursuant to the terms and conditions of the SEABOARD bill of lading.




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        142.   SEABOARD has substantially satisfied all conditions and promises required on

           its part to be performed in accordance with the terms and conditions of the

           SEABOARD bill of lading.

        143.   That Clause 7(a) of the SEABOARD bill of lading states in part:

               The description and particulars of the Goods set out on the face hereof and any
               description, particular or other representation appearing on the Goods or
               documents relating thereto are furnished by the Merchant, and the Merchant
               warrants to the Carrier that the description, particulars and any representation
               made, including, but not limited to, weight, content, measure, quantity, quality,
               condition, marks, numbers and value are correct.

        144.   That despite the terms and conditions of the SEABOARD bill of lading,

           TERMINALES, as a Merchant, failed in their description and representation of the

           cargo that caused it to be detained resulting in direct costs to SEABOARD in the

           amount of at least $55,525.25 and a claim against SEABOARD from RHCT in the

           amount of $88,145.00.

        145.   TERMINALES has materially breached its obligations to SEABOARD under

           Clause 7(a) in its failure to properly describe and represent the cargo for the subject

           shipment that caused it to be detained at a cost to SEABOARD.

        146.   As a direct result of TERMINALES’ breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by TERMINALES.

        147.   That Clause 7(b) of the SEABOARD bill of lading states in part:

               The Merchant warrants it has complied with all applicable laws, regulations and
               requirements of Customs, port and other authorities and shall bear and pay all
               duties, taxes, fines, imposts, expenses and losses incurred or suffered by reason
               thereof or by reason of any illegal, incorrect or insufficient marking, numbering,
               addressing or any other particulars relative to the Goods.



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        148.   That despite the terms and conditions of the SEABOARD bill of lading,

           TERMINALES, as a Merchant, failed to have complied with all applicable laws,

           regulations, and requirements as mandated by the authorities resulting in direct costs

           to SEABOARD in the amount of at least $55,525.25 and a claim against

           SEABOARD from RHCT in the amount of $88,145.00.

        149.   TERMINALES has materially breached its obligations to SEABOARD under

           Clause 7(b) in its failure to comply with all applicable laws, regulations, and

           requirements as mandated by the authorities which resulted in the subject shipment

           being detained at a cost to SEABOARD.

        150.   As a direct result of TERMINALES’ breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by TERMINALES.

        151.   That Clause 7(c) of the SEABOARD bill of lading states in part:

               The Merchant further warrants that the Goods are packed in a manner adequate to
               withstand the ordinary risks of Carriage having regard to their nature and in
               compliance with all laws, regulations and requirements which may be applicable.

        152.   That despite the terms and conditions of the SEABOARD bill of lading,

           TERMINALES, as a Merchant, did not adequately pack the subject cargo in

           compliance with applicable law resulting in direct costs to SEABOARD in the

           amount of at least $55,525.25 and a claim against SEABOARD from RHCT in the

           amount of $88,145.00.

        153.   TERMINALES has materially breached its obligations to SEABOARD under

           Clause 7(c) in its failure to adequately pack the subject cargo in compliance with



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           applicable law which resulted in the subject shipment being detained at a cost to

           SEABOARD.

        154.   As a direct result of TERMINALES’ breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by TERMINALES.

        155.   That Clause 7(e) of the SEABOARD bill of lading states in part:

               The Merchant shall be liable for all loss or damage of any kind whatsoever,
               including but not limited to, contamination, soiling, detention and demurrage
               before, during and after the Carriage of property (including but not limited to
               Containers) of the Carrier or any person (other than the Merchant) or vessel
               caused by the Merchant or any person acting on its behalf or for which the
               Merchant is otherwise responsible.

        156.   That despite the terms and conditions of the SEABOARD bill of lading,

           TERMINALES, as a Merchant, failed to make payment to SEABOARD for any

           losses incurred by them, including detention and demurrage, resulting in direct costs

           to SEABOARD in the amount of at least $55,525.25 and a claim against

           SEABOARD from RHCT in the amount of $88,145.00.

        157.   TERMINALES has materially breached its obligations to SEABOARD under

           Clause 7(e) in its failure to make payment to SEABOARD for any losses incurred by

           them, including detention and demurrage, resulting in a direct loss to SEABOARD.

        158.   As a direct result of TERMINALES’ breach of the SEABOARD bill of lading,

           SEABOARD has suffered and will likely continue to suffer damages, plus interest,

           attorneys’ fees, and costs as provided under the terms of the SEABOARD bill of

           lading, all of which should be reimbursed by TERMINALES.




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        159.    SEABOARD has retained the law office of Blanck, Cooper & Hernandez, P.A.

           and agreed to pay them a reasonable fee. Pursuant to Clause 15 of the SEABOARD

           bill of lading SEABOARD is entitled to collect its costs of collection, including

           reasonable attorneys’ fees.

               COUNT VIII- CLAIM FOR BREACH OF CONTRACT AGAINST METAL
                                      CONVERSIONS

        160.    SEABOARD incorporates and re-alleges each of the preceding paragraphs as if

           set forth herein at length.

        161.    The SEABOARD bill of lading for the subject shipment was a valid and

           enforceable contract.

        162.    The consideration set forth in the SEABOARD bill of lading, which was that

           SEABOARD would ship the subject cargo for an agreed upon price was fair and

           reasonable.

        163.    METAL CONVERSIONS as a listed consignee on the SEABOARD bill of lading

           is considered a Merchant pursuant to the terms and conditions of the SEABOARD

           bill of lading.

        164.    SEABOARD has substantially satisfied all conditions and promises required on

           its part to be performed in accordance with the terms and conditions of the

           SEABOARD bill of lading.

        165.    That Clause 7(a) of the SEABOARD bill of lading states in part:

                The description and particulars of the Goods set out on the face hereof and any
                description, particular or other representation appearing on the Goods or
                documents relating thereto are furnished by the Merchant, and the Merchant
                warrants to the Carrier that the description, particulars and any representation
                made, including, but not limited to, weight, content, measure, quantity, quality,
                condition, marks, numbers and value are correct.




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        166.   That despite the terms and conditions of the SEABOARD bill of lading, METAL

           CONVERSIONS, as a Merchant, failed in their description and representation of the

           cargo that caused it to be detained resulting in direct costs to SEABOARD in the

           amount of at least $55,525.25 and a claim against SEABOARD from RHCT in the

           amount of $88,145.00.

        167.   METAL CONVERSIONS has materially breached its obligations to SEABOARD

           under Clause 7(a) in its failure to properly describe and represent the cargo for the

           subject shipment that caused it to be detained at a cost to SEABOARD.

        168.   As a direct result of METAL CONVERSIONS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus

           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by METAL CONVERSIONS.

        169.   That Clause 7(b) of the SEABOARD bill of lading states in part:

               The Merchant warrants it has complied with all applicable laws, regulations and
               requirements of Customs, port and other authorities and shall bear and pay all
               duties, taxes, fines, imposts, expenses and losses incurred or suffered by reason
               thereof or by reason of any illegal, incorrect or insufficient marking, numbering,
               addressing or any other particulars relative to the Goods.

        170.   That despite the terms and conditions of the SEABOARD bill of lading, METAL

           CONVERSIONS, as a Merchant, failed to have complied with all applicable laws,

           regulations, and requirements as mandated by the authorities resulting in direct costs

           to SEABOARD in the amount of at least $55,525.25 and a claim against

           SEABOARD from RHCT in the amount of $88,145.00.

        171.   METAL CONVERSIONS has materially breached its obligations to SEABOARD

           under Clause 7(b) in its failure to comply with all applicable laws, regulations, and




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           requirements as mandated by the authorities which resulted in the subject shipment

           being detained at a cost to SEABOARD.

        172.   As a direct result of METAL CONVERSIONS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus

           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by METAL CONVERSIONS.

        173.   That Clause 7(c) of the SEABOARD bill of lading states in part:

               The Merchant further warrants that the Goods are packed in a manner adequate to
               withstand the ordinary risks of Carriage having regard to their nature and in
               compliance with all laws, regulations and requirements which may be applicable.

        174.   That despite the terms and conditions of the SEABOARD bill of lading, METAL

           CONVERSIONS, as a Merchant, did not adequately pack the subject cargo in

           compliance with applicable law resulting in direct costs to SEABOARD in the

           amount of at least $55,525.25 and a claim against SEABOARD from RHCT in the

           amount of $88,145.00.

        175.   METAL CONVERSIONS has materially breached its obligations to SEABOARD

           under Clause 7(c) in its failure to adequately pack the subject cargo in compliance

           with applicable law which resulted in the subject shipment being detained at a cost to

           SEABOARD.

        176.   As a direct result of METAL CONVERSIONS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus

           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by METAL CONVERSIONS.




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        177.   That Clause 7(e) of the SEABOARD bill of lading states in part:

               The Merchant shall be liable for all loss or damage of any kind whatsoever,
               including but not limited to, contamination, soiling, detention and demurrage
               before, during and after the Carriage of property (including but not limited to
               Containers) of the Carrier or any person (other than the Merchant) or vessel
               caused by the Merchant or any person acting on its behalf or for which the
               Merchant is otherwise responsible.

        178.   That despite the terms and conditions of the SEABOARD bill of lading, METAL

           CONVERSIONS, as a Merchant, failed to make payment to SEABOARD for any

           losses incurred by them, including detention and demurrage, resulting in direct costs

           to SEABOARD in the amount of at least $55,525.25 and a claim against

           SEABOARD from RHCT in the amount of $88,145.00.

        179.   METAL CONVERSIONS has materially breached its obligations to SEABOARD

           under Clause 7(e) in its failure to make payment to SEABOARD for any losses

           incurred by them, including detention and demurrage, resulting in a direct loss to

           SEABOARD.

        180.   As a direct result of METAL CONVERSIONS’ breach of the SEABOARD bill of

           lading, SEABOARD has suffered and will likely continue to suffer damages, plus

           interest, attorneys’ fees, and costs as provided under the terms of the SEABOARD

           bill of lading, all of which should be reimbursed by METAL CONVERSIONS.

        181.   SEABOARD has retained the law office of Blanck, Cooper & Hernandez, P.A.

           and agreed to pay them a reasonable fee. Pursuant to Clause 15 of the SEABOARD

           bill of lading SEABOARD is entitled to collect its costs of collection, including

           reasonable attorneys’ fees.

               WHEREFORE, for the above reasons, the Plaintiff SEABOARD MARINE LTD.,

        INC. prays that Defendants, MAGNUM FREIGHT CORP., METAL CONVERSIONS



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           LTD. d/b/a METAL SOURCE LLC., CVG ALUMINIOS NACIONALES S.A., and

           TERMINALES Y ENTREGAS INTERNACIONALES S.A. be obligated as a matter of

           law to defend, indemnify, and hold harmless SEABOARD MARINE LTD., INC. for any

           damages sustained, including direct damages of at least $55,525.55 and RHCT’s claim

           against SEABOARD MARINE LTD., INC. for at least $88,145.00, and SEABOARD

           MARINE LTD., INC. be entitled to recover from the Defendants damages, including

           attorneys’ fees and costs, sustained as a result of the Defendants material breach of the

           SEABOARD MARINE LTD., INC. bill of lading, and such other and further relief as

           this Court may deem just and proper.

                   Dated this _17th ___day of __May_____, 2017.



                                                  BLANCK, COOPER & HERNANDEZ, P.A.
                                                  5730 S.W. 74th Street, Suite #700
                                                  Miami, Florida 33143
                                                  Telephone: (305) 663-0177
                                                  Facsimile: (305) 663-0146

                                        By:___//S// Robert W. Blanck, Esq.____________
                                              Robert W. Blanck, Esquire
                                              Florida Bar No: 311367
                                              Email: rblanck@shiplawusa.com
                                              Jonathan Hernandez, Esquire
                                              Florida Bar No: 069047
                                              Email: jhernandez@shiplawusa.com
                                              Attorneys for SEABOARD MARINE LTD., INC.




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